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 9                      United States District Court
10                      Central District of California
11
     MIGUEL NAPOLES,                         Case № 2:18-CV-02215-ODW (RAOx)
12
13              Plaintiff,                   ORDER OF DISMISSAL WITH
14                                           PREJUDICE
                v.
15
16   CAPITAL ONE BANK USA, N.A and
17
     Does 1-10 inclusive,

18              Defendants.
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Case 2:18-cv-02215-ODW-RAO Document 23 Filed 04/29/19 Page 2 of 2 Page ID #:141




 1         The Court, having considered the parties’ Joint Stipulation for Dismissal
 2   Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby
 3   dismisses with prejudice Plaintiff’s Complaint in the above-entitled action. Each
 4   party shall bear its own costs and attorneys’ fees. The Court VACATES all dates and
 5   deadlines. The Clerk of the Court shall close the case.
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 7
           IT IS SO ORDERED.
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           April 29, 2019
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                                  ____________________________________
12                                         OTIS D. WRIGHT, II
13                                 UNITED STATES DISTRICT JUDGE
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